       Case 5:22-cr-00424-D Document 39 Filed 03/30/23 Page 1 of 13

                                                                                              i

                                                                                              l
                                                                                              i

                                                                                              I
             IN THE IJNITED STATES DISTRICT COURT FOR I}IE                                    I

                                                                                              i
                      WESTERN DISTRICT OF OKLAIIOMA                                           I
                                                                                              I
                                                                                              I

UNITED STATES OF' AMERICA,                    )                                               I

                                              )                                               I
                    Plaintiff,                )                                               i
                                              )                                               l
                                                                                              I
             -vs-                             )      No. CR-22-424-D
                                                                                              I
                                              )                                               t
THOMAS HEATIIHOCKER,                          )                                               t
                                                                                              \
                                              )
                    Defendant.                )                                                   i
                                                                                                  I
                                 PLEAAGREEMENT                                                    I
                                                                                                  I


                                      Introduction                                                I
                                                                                                  I


       l.     This Plea Agreement, in coqjunction with a Plea Supplernent filed                   i
                                                                                                  I
                                                                                                  t
conternporareously under seal, contains the entire agreement between Defendant Thomas             I
                                                                                                  I



Heath Hocker and the IJnited States concerning Defendant's plea of guilty in this case. No        I




other agreement or promise exists, nor may any additional agreement be entered into unless        1
                                                                                                  :

                                                                                                  I
                                                                                                  I
in writing and signed by all parties. Any unilateral modification of this Plea Agreement is       I


                                                                                                  i


hereby rejected by the United States. 'lhis Plea Agreement applies only to the criminal

violations described and docs not apply to any civiJ matter or any civil forfeiture

proceeding except as speci-fically set forttr. This Plea Agreement binds only thc United
                                                                                                  I

                                                                                                  i
States Attorney's Office for the Westem District of Oklahoma and does not bind any other          I


federal, state, or iocal prosecuting, administative, or regulatory authority. If Defendant
                                                                                                  I



does not accept the terms of this Plea Agreement by February 3,2023, the offer is
                                                                                                  I



withdrawn.
                                                                                                  I

                                                                                                  I
       Case 5:22-cr-00424-D Document 39 Filed 03/30/23 Page 2 of 13



                                                                                              !

                                                                                              i
                                                                                              i
                                                                                              I
                                        Guiltv Plea                                           i


       2.     Defendant agrees to enter a plea of guilty to Count I of the Indictment in      I
                                                                                              i
                                                                                              I

Case Number CR-22-424-D, chargitrg Distribution of Methamphetamine, in violation of           i
                                                                                              I

                                                                                              I
2l U.S.C. $ 8al(aXl). To be found guiity ofviolating 2l U.S.C. $ 8a1(a\1), as charged in      I

                                                                                              I
Count I of the Indictrnent, Defendant rnust admit, and does admit, that onMrch23,2022,
                                                                                              i
                                                                                              I
in the Westem District of Oklahoma: (1) Defcndant knowingly distributed a quantity of a       i

                                                                                              I
mixture or substarce containitrg a deteotable amount of methffnphetamine to another
                                                                                              ;

person; and (2) the substarrce was in fact methamphetamine, a Schedule II controlled          I
                                                                                              |'




substance.                                                                                    i
                                                                                              i
                                                                                              I
                Maximum Penaltv, Restitution, and Special Assessment                          I
                                                                                              f
                                                                                              I
       3.     The maximum penaity that could be imposed as a result of this plea is 20        I
                                                                                              I
                                                                                              i
years of imprisonment or a flne of $1,000,000.00, or both such fine and imprisonment, as      i
                                                                                              i
well as a mandatory special assessment of $100.00 and a term ofsupervised release ofno        l


less than three yeats and up to [ife.

       4.     In addition to the punishment described above, a plea of guilty can affect

immigration statu.s, If Defendant is not a citizen of the United States, a guilty plea may

result in deportation and removal ftom the United States, may prevent Defendant ftom ever

Iawfully reentering or remai:ring in the United States, and may result in the denial of

naturalization. IfDsfendant is a naturalized citizen ofthe United States, a guilty plea may

result in denaturalization.




                                             2
       Case 5:22-cr-00424-D Document 39 Filed 03/30/23 Page 3 of 13
                                                                                                  t
                                                                                                  I
                                                                                                  !

                                                                                                  I
                                                                                                  I

                                                                                                  i

                                                                                                  I
       5.    In addition, the Court must order the payment of restitution to any victim(s)        I
                                                                                                  I
                                                                                                  I

ofthe offense. Pursuant to 18 U.S.C. $$ 3663(aX3) and 36634" the parties agrec tha! as            i
                                                                                                  i
part of the seltencc resulting from Defendant's plea, the Court will enter an order of            I
                                                                                                  I

                                                                                                  i
restitution to all victims ofDefendant's relevant conduct as determined by reference to the       I
                                                                                                      t

United States Sentencing Guidelines (the "Guidelines").
                                                                                                      I


       6.     Defendant agrees to pay any special assessment(s) to the OiEce of thc Court
                                                                                                      I

                                                                                                      i
                                                                                                      t
                                                                                                      I
clerk irnmediately following sentencing. Defenda$t understands that any fine or                       i

                                                                                                      1

restitution ordered by the Court is immediately due unless the Court provides for payment
                                                                                                      !
                                                                                                      I
on a date certain or in installments. If the court imposes a schedule for payment of                  1




restitution, Defendant agrees that such a schedule represents a minimum payment

obligation and does not preclude thc Unitcd states Attomey's offtce from pursuing other
                                                                                                      ;
                                                                                                      I

                                                                                                      i



means by which to satisry Defendant's full and immediately enforceable financial

obligations. Defendant accepts a continuing obligation to pay in full, as soon as possible,

any Iinancial obligation imposcd by the Court. Defendant further understands that a failure

to abide by the terms of any restitution schedule imposed by the court may result in further

action by the Court.

       7,     For certain statutory offenses, the Court must also impose a term of

supervised relcase, which Defendant will begin to serve after being released from custody.

Ilor all other offenscs, the Court may impose a term of supervised release to be served

following release ftom custody. During the term of supervised release, Defendant will be

subject to conditions that will includc prohibitions against violating local, state, or federal



                                               3
       Case 5:22-cr-00424-D Document 39 Filed 03/30/23 Page 4 of 13




law, reporting requirements, restrictions on travel and residence, and possiblc testing for

oontrolled substance use. If Defeldant violates tho conditions of supervised release, the

Court may revoke Defendant's supervised release and sentence Defendant to an additional

term of imprisonment. 'l'his additional tcrm of imprisonment would be served without

credit for the time Defendant successfully spent on supervised release. when combined,

the original term of imprisonment and any subsequent term of imprisonment the Court

imposes may excecd the statutory maximum prison term allowable for the offense.

                                  linancial Disclos ures

       g.     Defendant agrees to disclose all assets in which Defendant has any interest

or over which Defendaat exercises control, directly or indirectly, including those held by a

spouse, nominee, or any other third party. upon request by the united States, Defendant           i




agrees (1) to complete truthfuUy and sigr under penalty of perjury a Financial Statement

ofDebtor by the change-of-piea hearing, or a date othenwise ageed to by the Uniled States'

and (2) to provide updates with any material changes in circumstances, as described in 18

u.s.c. $ 3664(k), within seven days of the event giving rise to zuch changes, Defendant

understands that the United Statcs will ta[<e Defsndant's compliance with these requests

into account when it makes a recommentlation to the Court regarding Defendant's

 acceptance of resPonsibilitY.

        g.     Defeudant also expressly authorizes the Unitcd States Attorney's Office to

 obtain a oredit report on Defendant, in order to evaluate Defendant's
                                                                         ability to satisfu any

 fiaancial obligations imposed by thc court. Finally, Defendant agfees
                                                                                to notiry the



                                              4
       Case 5:22-cr-00424-D Document 39 Filed 03/30/23 Page 5 of 13




Financial Litigation Program ("FLP') ofthe United States Attomey's Office and to obtain

permission from FLP betbre Defendant transfers any intercst in property with a value

exceeding $1,000.00, owned directly, indirectly, individually, or jointly by Defendant,

including any interest held or owned under any name, including trusts, partncnhips, or

corporations. I)efendant acknowledges a continuing obligation to notify and obtain

permission from I;LP lbr any tansfers of the above-described propefty until full              I

                                                                                              i
                                                                                              !
satisfaction of any restifution, fine, special assessment, or other financial obligations     !
                                                                                              I

                                                                                              I
imposed by the Court.                                                                         I
                                                                                              I


                                          Abandonment                                         j

       10. Defendant voluntarily agtees to abandon any and all right, title, interest, and    a

                                                                                              t
                                                                                              t
                                                                                              I
                                                                                              I

claim, if any, in the foliowing assets:                                                       I


                                                                                              i
               a.       a.38 special oaliber round with the marking "R-P 38 SPL" on the       I
                                                                                              i

                        headstamp; and

               b.      a .22 caliber round with the marking "F" on the headstamp.


       11. Dcfendant acknowledges that pursuant to 41 C.F.R. $128-48.102-1, the
United States must notifr Defendant of Defendant's right to claim the abovcJisted

propertyl however, Defendant voluntarily waives the right to receive such

notice. Defendant agrees not to contest the vesting of title of this property in the United

States. Defendant further agrees not to assist others in filing a claim in an abandonment

proceeding or otherwise assist others who challenge an abandonment action involving the

above-listed property or propery involved in the underlying criminal conduct.




                                             5
       Case 5:22-cr-00424-D Document 39 Filed 03/30/23 Page 6 of 13




       12. Defendant voluntarily waives all right in this property in order that final
disposition may be made by the appropriate federal, state, or local law enforcement

agency. Defendant unconditionally releases and holds harmless the United States and its

of[ce$, employees, and agents, from any and all claims, demands, damages, causes of

actions, or suits, of whatever kind and description, and wheresoever situated, that might

now exist or hereafter exist by reason of or growing out of or affectiag, directly or

indirrctly, the seizure or waiver of ownership interest in the aboveJisted
property. Defendant knowingly and voluntarily waives all constitutional, legal, and             I
                                                                                                I
                                                                                                ;


equitable defenses to the abandonment of this asset in any proceeding, and firrther waives      i


any claim or defense under the Eighth Amendment to the United States Constitution,
                                                                                                I
                                                                                                I
iacluding any claim of excessive fine, to the disposition of this asset by the United States,   :
                                                                                                l

                                                                                                i
the State of Oklahom4 or its subdivisions.

       13. Defendant knowingly and voluntarily waives any right to appeal or
collaterally attaok any matter in connection with the abandonment provided for

herein. Defendant a$ees that in tlle event that this plea agleement is voided for any reason,

Delbndant's abandorrment of and the disposition of the property listed above shall survive

and shall be given full force and effect.

                                   Sentencin e Guideliloes

        14. The parties acknowledge that 18 U.S,C. $ 3553(a) directs the Court to
consider sertain factors in irnposing sentence, including the Guidelines
                                                                           promulgated by the


United States Sentencing Commission. Conscquently, although the parties recog'nize that



                                              6
      Case 5:22-cr-00424-D Document 39 Filed 03/30/23 Page 7 of 13


                                                                                               I
                                                                                               !
                                                                                               I
                                                                                               I
                                                                                               I
                                                                                               I

the Guidelines are only advisory, they have entered into certain stipulations and agreements   I
                                                                                               I
                                                                                               I
with respect to the Guidelines. Based upon the information known to the parties on the         I
                                                                                               I
                                                                                               I
date that this Plea Agreement is executed, they expect to take, but are not limited to, the
                                                                                               I
                                                                                                   I
following positions at sentencingl                                                                 I
                                                                                                   I
       Thc parties agree Defendant should receivo a twoJevel downward adjustment for               I
                                                                                                   !
                                                                                                   !
Defendant,s acceptance of responsibility, pursuant to u.S.s.G. $ 3E1.1(a), if Defendant
                                                                                                   t

commits no firrthcr orimes, does not falsely deny or frivolously contest relevant conduct          I
                                                                                                   I
and fully complies with all other terms ofthis PIea Agreement. Further, ifthe coult applies
                                                                                                   i
that two-level dorrunwatd adjusment, the united states will move for an additional one-                I




level downward adjustrnent under U.S.S.G. $ 3E1.1(b) if it determines that Defendant
                                                                                                       i

qualifies for the additional adjustment based on thc timeliness of Defendant's acceptance

of this Plea Agreement and other appropriate considerations in U.S.s.G. $ 381.1 and its

application notes.

       The parties also agree and stipulate that Defendant's relevant conduct in this case

includes 1,080.4 grams of a mixhrre or substance containing a detectable amount of

methamphetamine.

        Apart from any expressed agrgements and stipulations, the parties reserve the right

 to advocate for, and present evidence relevant to, other Guidelines adjustments aud

 sentencing factors for consideration by the United States Probation Officc and the Court.

      15. The parties have entered into this Plea Agreement under the provisions of
 Federal Rules of criminal Procedure I I (cX1XA) and 1(o)(1 [B). Dofendant
                                                                  1




                                               7
       Case 5:22-cr-00424-D Document 39 Filed 03/30/23 Page 8 of 13

                                                                                                 I



                                                                                                 I
                                                                                                 i
                                                                                                 I


                                                                                                 i
acknowledges and understands that the court is not bound by, uor obligated to accep! these       I
                                                                                                 I
stipulations, agreernents, or recourmendations of the United States or Defendant, And,

even if the Court rejects one or more of these stipulations, agreements, or
                                                                                                     t

recommendations, that fact alone would not allow Defendant to withdraw Defendant's plea              I

                                                                                                     I
of guilty. upon Defendant's signing of this Plea Agreement, the United states intends to
                                                                                                     i

end its investigation ofthe allegations in the Indictment, as to Defendant, except insofar as        i
                                                                                                     i
                                                                                                     I
required to prepare for further hcarings in this case, including but not limited to sentcncing
                                                                                                     I

and to prosecute others, if any, involved in Defendant's conduot. The United States agrees           I
                                                                                                     i

to end any investigation directed specifically at the lbregoing stipulations, agreements, or
                                                                                                     I



recommendations as to Defendant. However, subject to the terms and conditions of this                i

                                                                                                     i


Plea Agreement and Plea Supplement" the United States exPressly reserves the right to take

positions that deviate ftom the foregoing stipulations, agreemsnts, or recommendations in

thc event that materiar credible evidence requiring such a deviation is discovered during

the course of its investigation after thc signing of this Plea Agrerment or arises from

sources independent of the United States, including ttre United States Probation Offtce.

              Waiver of Rieht to Ap peal and B           Collateral     allense

       16. DeGndant undcrstands that the court wilI cousider the factors set forth in 18
u.s.c. $ 3553(a) in determining Defendant's sentence. Defendant also understands that

the court has jurisdiction and authority to impose any sentence within the statutory

maximum for the offense(s) to which I)efendant is pleading guilty. Defendant firrther

understands that 28 U.S.C. $ 1291 and l8 U.S.C. $ 3742 give Defendant the right
                                                                                     to appeal
       Case 5:22-cr-00424-D Document 39 Filed 03/30/23 Page 9 of 13


                                                                                                  I




the judgrrent and sentence imposed by the Court. Acknowledging all of this, and in                I



cxchange for the promises and concessions made by the tJnited States in this Plea                 I
                                                                                                  I
                                                                                                  I
Agreement, Defendant knowingly and voluntarily waives the following righs:

             a.     Defendant waives the right to appeal Defendant's guilty plea, and any

                                                                                                      i
other aspect ofDefendant's conviction, including but not limited to any rulings on pretrial
                                                                                                      I
zuppression motions or any other pretrial dispositions ofmotions and issues;

              b.     Except as stated immediately below, Defendant waives the tight to
                                                                                                      i

appeal Defendant's sentence, including any restitution, and the manner in which the

sentetrce is determined, including its procedural reasonablencss' Ifthe sentence is above
                                                                                                      I




the advisory Guidelines range determ.ined by the Court to apply to Defendant's case, this
                                                                                                      I




waiver does not include Del'endant's right to appcal the substantive reasonableness of

Defsndant's sentence;

              c.     Defendant waives the right to collaterally chalienge or move to

modif, (under28U.S.C. $ 2255, 18U.S.C. $ 3582(c)(2), or any other ground) Defendant's

conviction or sentence, including any restitution, except with lespoct to claims of
                                     'l'his waiver does not include Defendant's ability to file
ineflective assist nce of counsel.

a motion for oompassionale release (under 18 U.S.C. $ 3582(cXlxA)(i))
                                                                            to the extent such


motion is based solely on "cxtraordinary and compelling reasons" currently listed
                                                                                             in

 U.S.S.G. $ 181.13 cmt. n'1.




                                                9
       Case 5:22-cr-00424-D Document 39 Filed 03/30/23 Page 10 of 13

                                                                                              I

                                                                                              I

                                                                                              I




      Defendant aoknowledges that these waivers remain in full eflect and are
                                                                                              I


                                                                                              I

enforceable, even if the Court rejects one or more of the posifions of the United States or   I
                                                                                              I
                                                                                              I
Defendant set forth in paragraph 13.
                                                                                              I


       l7   .   Except as stated immediately below, the United States agrees to waive its
                                                                                              i
right under lE U.S.C. $ 3742 to appeal the sentence irnposed by the Court and the manner      I
                                                                                              I
                                                                                              I
in which the sentence was determincd. If the seotence is below the advisory Guidelines
                                                                                                  I
                                                                                                  I
range detennined by the Court to apply in this case, this waiver does not include the right
                                                                                                  I
ofthe United States to appeal the substantive reasonableness ofDefendant's sentence'              i
                                                                                                  !

                                                                                                  i
                       Waiver of Claim to Prevailins P artv Status                                I
                                                                                                  I


       18. Defendant expressly acknowledges that Defendant is not a "prevailing party"            i
                                                                                                  i
                                                                                                  i

within the meaning of 18 U.S.C. $ 3006A with respect to the count of conviction or any            I
                                                                                                  I




other count or charge that may be dismissed pursuant to this Plea Agreement. IfDefendaat

is represented by retained counsel, Defendant voluntarily, knowingly, and intelligently

waives any rights Defendant may have to seck reasonable attomey's fees and other

litigBtion expetrses unrtcr 18 U.S.C. $ 3006A.

                         Waiver of F0IA and Privacv Act Rishts

       19. Defendant waives all rights, whether asserted dircctly or by a reprcsentative,
to request or receive from any departrnent or agency of the unitsd states any records

pertaining to the investigation or prosecution of this case, including but not limited to

records that Defcndant may seek under the Freedom of Information Act, 5 U.S.C. $ 552,

or the Privacy Act of 7974,5 U.S.C. $ 522a.




                                             10
      Case 5:22-cr-00424-D Document 39 Filed 03/30/23 Page 11 of 13




                                                                                                  I
                                                                                                  I
                                                                                                  I
                                Obliga tions of Defendant                                         t

                                                                                                  I
       20. Defendant shall comrnit no further crimes. Should Defendant commit any
                                                                                                  I
further dimes, knowiagly give false, incomplete, or rnisleading testimony or information,
                                                                                                  t

or otherwise violate any provision of this Plea Agreernent, the united states will be             I


released ftom any obligations, agreements, or restrictions imposcd on it under this Plea          t

                                                                                                  I
Agreement, and the united states may prosecute Defendant for any and all ofDefendant's
                                                                                                  I

federal criminal violations, including perjury and obstruction ofjustice. Any prosecution
                                                                                                      l

                                                                                                      i

withi_n the scope of this investigation that is not time-baned by the applicable statuto of
                                                                                                      i


limitations on the date of the signing of this Plea Agreement may be brought against
                                                                                                      I



                                                                                                      I




Defendanl notwithstanding the expiration of the statute of limitations between the signing

of this Plea Agreement and &e commencemcnt of that prosecution. Defendant hereby

waives all defenses based on the statute of limitations with respect to any prosecution that

is not time-barred on the date that this Plea Agreement is signed.

       21. The parties also recognize that if the Court determines that Defendant has
violated a:ry provision of this Plea Agreement or authorizes Defendant to withdraw aom

Defendant,s knowing and voluntary guiity plea entered pursuaflt to this Plea Agreement:

(a) all written or oral statements made by Defendant to the Court or to federal or other

                                                                                   a grand jury
designated law enforcement agents, any testimony given by Defendant before

                                                                                  and any leads
or other tribunal, whether before or after the signing of ttris Plea Agrcement,

from those statements or tastimony, shall be admissible evidence in any criminal

proceeding brought against Defendant; and (b) Defendant shall assert no claim undcr
                                                                                            the




                                              11
      Case 5:22-cr-00424-D Document 39 Filed 03/30/23 Page 12 of 13

                                                                                                I
                                                                                                I
                                                                                                I
                                                                                                i
                                                                                                I
                                                                                                I

                                                                                                I
                                                                                                t


                                                                                                I

United States Constitution, atry statute, Federal Rules of Criminal Proccdure 1 l(dXl) and      ,
                                                                                                I
                                                                                                I

11(f), Federal Rule of Evidence 410, or any other federal rule oI law that those statements     I
                                                                                                9
                                                                                                    I
                                                                                                    I
or any leads from those statements should be suppressed. Defendant knowingly and                    I
                                                                                                    i
                                                                                                    i
votuntarily waives Defendant's rights described in this paragraph as of the time Defendant          {


                                                                                                    i
signs this Plea Agr€ement.
                                                                                                    i
                                                                                                    t
                                                                                                    I
                               Obliea tions of the United States                                    )




       22. lf Defendant enters a plea of guilty as described above and fully meets all              I
                                                                                                    l

                                                                                                    I
obligations under this Plea Agreenent, the united states will move to dismiss at sentencing
                                                                                                    I

Counts 2 and 3 of the Indictment, filed October 5,2022, and the tjnited States Attorney's
                 .westem
oflice for the             District of oklahoma will not further prosecute Defendant for any

crimes related to Defendant's distribution and tra{ficking of methamphetamine and being

a felon in possession of ammunition during the period from March 21,2022' through June


21, 2022. This Plea Agreement does not provide any protection against prosecution for

any c me not specifically described above.

       23. Defendant understands that the sentence to be imposed upon Defendant is
within the sole discretion of the court. The united states does not make any promise or

representation as to what sentence f)efendant will receive. The United States reserves the

right to inform the United states Probation office and tho court of the nature and extent

of Defendant's activities with respect to this case and all other activities ofDefendant that

the United States deems relevant to $entencing.

                                           Siqnetures



                                               12
      Case 5:22-cr-00424-D Document 39 Filed 03/30/23 Page 13 of 13

                                                                                                       I
                                                                                                       I
                                                                                                       I



                                                                                                       t
                                                                                                       I
conjunction witir the Plea supplement filed contempora.neously undcr seal, oontains the
                                                                                                       I
                                                                                                       I
only terms of the agreement concerning Defendant's plea of guilty in this case, and that
                                                                                                       I
there are no other deals, bargairs, agreements, or understandings which modifr or alter                I

these terms.                                                                                               I
                                                                                                           I
       Daterl this z/hay of   f-J.,*1            ,2023.
                                                                                                           I

                                                                                                           i
                                                  ROBERT J.'TROESTER                                       I
                                                                                                           I
APPROVED:                                         United Statcs Attomey


                                                      _<>:,g=_*Prrtt                   t<. EAR $tgIT       i
DAVID                                             S+Ep+{*}ffi?OtrERs-{g
Deputy Chiei           Division                   Special Assistant U.S. AttomeY
                                                  Wcstern District of Oklahoma
                                                  210 Park Avenue, Ste. 400
                                                  Ollahoma City, Oklahoma 73 102                               i

                                                  (405) 5 53-[Private Line] (Office)
                                                  ( 4os) 5s3-8888 (FAX)
                                                                                                               I

                                                                                                               I


                                                                                                               i


THOMAS              HOCKER                        DAVID            SIE                                         I



                                                             LEVISAY
                                                            for Defendant




                                            13
